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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
STATE OF MARYLAND
vs. ; Case No. 8:19-cr-00348-PX
ALAKOM-ZED CRAYNE POBRE

Defendant

ORDER

Upon consideration of Defendant’s Consent Motion to Toll Speedy Trial Clock for
Extension of Motions Filing Deadline, and noting the Government’s consent thereto, it is this

day of , 2019,

ORDERED, that Defendant’s Motion is hereby GRANTED, and it is further,
ORDERED, that the Speedy Trial Clock is tolled from August 8, 2019 through

September 6, 2019..

Judge Paula Xinis
